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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MARYLAND

------------------------------------------------------------- :
GITA F. SANKANO,                                               :
                                                               :
                  Plaintiff,                                   :   Case No. 8:24-cv-00951-TJS
                                                               :
v.                                                             :   Hon. Timothy J. Sullivan
                                                               :
MAJOR, LINDSEY & AFRICA, LLC, ANDY                             :
UFBERG, RANDI LEWIS, and ELIZA STOKER, :
                                                               :
                  Defendants.                                  :
                                                               :
-------------------------------------------------------------- :


                        MEMORANDUM OF LAW IN SUPPORT OF
                     DEFENDANTS’ RULE 12(b)(6) MOTION TO DISMISS
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                                         INTRODUCTION

        Plaintiff, an attorney, was fired from her last job and hopes to get a new one. Her one-

count complaint alleges that she was denied the services of a legal recruiter, Defendant Major

Lindsey & Africa, LLC (“MLA”), because MLA and three of its employees “retaliated” against

her for filing a race discrimination lawsuit against her old firm. But her lone claim under 42 U.S.C.

§ 1981 suffers from two fatal pleading defects that cannot be cured and, therefore, require dismissal

of her complaint with prejudice.

        First, the absence of a contract between Plaintiff and Defendants dooms her claim. Section

1981 protects the rights of U.S. citizens to make and enforce contracts without regard to race. To

state a claim under this statute, a plaintiff must identify an existing or prospective contract that the

defendant supposedly impaired through discriminatory conduct. The complaint fails to identify

such a contract. Indeed, Plaintiff neither alleges that she had a contract with MLA nor that she

expected to have a contract with MLA in the future—and for good reason. MLA does not enter

into contracts with job seekers like Plaintiff. Rather, MLA enters into contracts with employers,

receiving a commission if an employer hires a candidate MLA presents for its consideration. Thus,

Defendants’ alleged conduct did not impair Plaintiff’s contractual rights, and this case should join

the growing list of section 1981 cases courts have dismissed because no contract existed between

the parties.

        Second, Plaintiff failed to allege that Defendants acted with a retaliatory motive or intent.

To state a section 1981 claim, a plaintiff must allege facts showing that the adverse action she

allegedly experienced was the product of a desire to retaliate against her for engaging in conduct

protected by the statute. In other words, Plaintiff must allege that “but for” her filing of race

discrimination claims, MLA would have continued working with her. Yet Plaintiff does not allege

that MLA refused to work with her because she filed race-based claims against her former firm (as


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opposed to claims for back pay or to redress some other alleged wrongdoing). Nor could she do

so.   MLA’s decision, along with its advice that Plaintiff should not make her job search

significantly more difficult by suing her prior employer, was entirely unrelated to her bringing

race-based claims against her old firm. Because Plaintiff failed to allege facts showing that

Defendants purposefully retaliated against her for pursuing such claims, she has not plausibly

alleged a section 1981 violation.

       For the reasons identified above, Plaintiff’s section 1981 claim fails as a matter of law.

Accordingly, the Court should dismiss her complaint in its entirety, with prejudice, under Federal

Rule of Civil Procedure 12(b)(6).

                                    FACTUAL BACKGROUND1

       Plaintiff Gita Sankano, a young black female attorney, was hired as an entry-level associate

at Pepper Hamilton—now Troutman Pepper Hamilton Sanders LLP (“Troutman”)—on August 31,

2019. (Compl. ¶¶ 12, 62.) On November 29, 2023, Troutman fired her. (Id. ¶ 72.) Plaintiff claims

Troutman terminated her employment “because she complained about race discrimination.” (Id.

¶ 12.) Nonetheless, Plaintiff alleges that she was optimistic about the future because she “was set

to work with MLA,” a “massive attorney recruiting agency with 25 office locations, 200+

recruiters and 1,500+ annual placements.” (Id. ¶¶ 1, 13.) Plaintiff supposedly arranged to work

with two of MLA’s managing directors—defendants Randi Lewis and Andy Ufberg. (Id. ¶ 14.)

She was particularly happy about the chance to work with Randi Lewis, as Ms. Lewis had a “stellar

reputation for placing diverse candidates.” (Id. ¶ 15.)


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  The content of this Factual Background section is taken exclusively from Plaintiff’s complaint
because, on a motion to dismiss, all well-pleaded factual allegations must be taken as true. As a
factual matter, however, the complaint is riddled with inaccurate allegations, which Defendants
vehemently deny. To cite one example among many, Plaintiff’s allegation that MLA destroyed
evidence of its conversations with Plaintiff after sending a litigation hold to its employees (ECF
No. 1 (“Compl.”) ¶ 110), is patently false.
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       This is not the first time Plaintiff had reached out to Ms. Lewis for help. When Plaintiff’s

judicial clerkship was coming to an end in 2019, Plaintiff contacted Ms. Lewis in the hopes that

Ms. Lewis would assist her in finding an associate position at a law firm. (Id. ¶ 60.) Ms. Lewis

explained at the time, however, that MLA does not place entry-level associates. (Id. ¶ 61.) This

makes perfect sense. Law firms are perfectly capable of interviewing attorneys fresh out of law

school and will not pay legal recruiters tens of thousands of dollars for steering entry-level

attorneys their way. Similarly, as Ms. Lewis tried to explain to Plaintiff in late 2023 and early

2024, law firms will not pay MLA a five-figure commission for introducing them to a young

associate with no portable business who recently was fired by—and filed a lawsuit against—her

former firm. Apparently failing to grasp this basic concept of law firm recruiting, Plaintiff

misleadingly (and in conclusory fashion) characterizes the advice Ms. Lewis gave her not to sue

Troutman as instructing her “not to stand up for her civil rights.” (Id. ¶ 19.)

       Ms. Lewis allegedly gave Plaintiff this advice on two occasions. First, Ms. Lewis spoke

with Plaintiff by phone on November 30, 2023. (Id. ¶ 18.) During that call, Plaintiff claimed that

she had been subjected to race discrimination at Troutman and was fired in retaliation for

complaining about it. (Id.) Ms. Lewis allegedly responded, in part, by advising Plaintiff “not to

file a lawsuit” against Troutman. (Id. ¶ 19.) Nonetheless, Ms. Lewis agreed to help Plaintiff (and

did so). (Id. ¶¶ 18-20.) Second, during a call on January 11, 2024, Ms. Lewis again advised

Plaintiff not to sue and told Plaintiff that she “would never find a job if she filed suit.” (Id. ¶ 20.)

The quote attributed to Ms. Lewis in the complaint does not suggest that she was opposed to race

discrimination lawsuits; it suggests only that Ms. Lewis believed that, if Plaintiff sued her former

law firm, Ms. Lewis would be unable to place her at a new firm while commanding MLA’s

commission. (Id. ¶ 88 (“If you file this lawsuit, I can’t place you again.”))



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       Plaintiff rejected Ms. Lewis’ advice. On January 17, 2024, Plaintiff sued Troutman for race

discrimination and retaliation. (Id. ¶ 21.) The next day, Ms. Lewis allegedly phoned Plaintiff and

told her that: (1) Ms. Lewis no longer could work with Plaintiff because she sued Troutman; and

(2) an associate position at an unnamed law firm (“Law Firm A”) to which Ms. Lewis had

submitted Plaintiff’s materials no longer was available. (Id. ¶¶ 20-21.) Plaintiff claims the

associate position was available and, in fact, Plaintiff secured a January 19, 2024 interview at Law

Firm A by herself. (Id. ¶ 21.)

       Word of Plaintiff’s lawsuit against Troutman was communicated to various associate

recruiters at MLA by email on the morning of January 18, 2024. (Id. ¶ 22.) Commenting on the

aggressive nature of the suit, the email’s author observed: “This complaint is not messing around.”

(Id.) Ms. Lewis responded in an email to the group, stating: “I represent her and told her not to

sue. Thank you for the heads up.” (Id.) Defendant Ufberg, who is not alleged to have ever

communicated with Plaintiff in any way, responded to the announcement by stating: “That’s Randi

and my candidate fyi we won’t work with her now.” (Id. ¶ 23.) Responding to this email less than

a minute later, Ms. Lewis wrote: “Agreed. I will call her later.” (Id.)

       The third individual defendant, Eliza Stoker, Executive Director of MLA’s Associate

Practice Group, responded in an email to the group shortly thereafter, stating that “we are not

washing our hands of this candidate,” but that MLA needed to exit the relationship because of the

likelihood that the company would be subpoenaed. (Id. ¶ 25.) Plaintiff claims this email

effectively “blackballed [her] from MLA.” (Id. ¶¶ 24, 98, 108.) She supports this contention with

allegations that, later that month, when she reached out to another recruiter in MLA’s Associate

Practice Group, she was told that while the recruiter would have loved to help her, “he can’t

because [MLA] doesn’t want its documents subpoenaed.” (Id. ¶¶ 102-106.)



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        The theory behind Plaintiff’s section 1981 claim is that Defendants retaliated against her

for “engaging in protected activity”—i.e., filing the Troutman lawsuit. (Id. ¶ 112.) In a bizarre

call to action, Plaintiff claims that she wants “law firms and companies to blackball MLA,” just as

she claims MLA blackballed her. (Id. ¶ 9.) However, Plaintiff does not allege that Defendants

harbored any ill will against her or took any adverse action against her because she filed

discrimination claims. In fact, a fair reading of the complaint suggests that Ms. Lewis was

concerned about the effect that Plaintiff suing her old law firm would have on prospective

employers regardless of the nature of Plaintiff’s claims. In other words, it was the filing of any

lawsuit against Troutman that concerned Ms. Lewis, not the lawsuit’s race-based nature.

        In addition, Plaintiff does not allege that she had a contract with MLA or expected to have

a contract with MLA in the future. In fact, the words “contract” and “agreement” do not appear in

any of the complaint’s 115 paragraphs. There is no allegation of: (1) a contract between Plaintiff

and any Defendant; (2) the material terms of a contract between Plaintiff and any Defendant; (3)

Plaintiff’s payment of money or other consideration to any Defendant; or (4) any Defendant

accepting an offer by Plaintiff to enter into a contract. The reason Plaintiff failed to allege the

existence of a contractual relationship between Plaintiff and Defendants is simple: no such

relationship existed.

                                            ARGUMENT

I.      Legal Standard

        To survive a Rule 12(b)(6) motion to dismiss, “a complaint must contain sufficient matter,

accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S.

662, 678 (2009) (quoting Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007)). “A claim has

facial plausibility when the plaintiff pleads factual content that allows the court to draw the

reasonable inference that the defendant is liable for the misconduct alleged.” Id. This requires the

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plaintiff to “show more than a sheer possibility that the defendant has acted unlawfully.” Id. In

evaluating motions to dismiss, courts must accept as true a complaint’s factual allegations and

draw all reasonable inferences in the plaintiff’s favor. Elyazidi v. SunTrust Bank, 780 F.3d 227,

233 (4th Cir. 2015). However, courts need not accept “legal conclusions, … bare assertions devoid

of further factual enhancement[,] … unwarranted inferences, unreasonable conclusions, or

arguments.” Nemet Chevrolet, Ltd. v. Consumeraffairs.com, Inc., 591 F.3d 250, 255 (4th Cir.

2009).

         In this case, Plaintiff’s complaint contains a single cause of action for retaliation under 42

U.S.C. § 1981. As explained below, under the federal pleading standards articulated in Twombly

and Iqbal, she has failed to state a claim upon which relief can be granted.

II.      The Court Should Dismiss Plaintiff’s Section 1981 Claim Because No Contract Exists
         Between the Parties

         Congress passed the Civil Rights Act of 1866 in the aftermath of the Civil War to vindicate

the rights of former slaves. The Act contained language codified today in section 1981, which

guarantees black citizens “the same right in every State and Territory to make and enforce contracts

… as is enjoyed by white citizens.” 42 U.S.C. § 1981(a). By its plain terms, section 1981 prevents

persons from impeding the “contractual relationships” of protected minorities through

discriminatory conduct. 42 U.S.C. § 1981(b). In keeping with the focus of the statute, the Supreme

Court has held that claims brought under section 1981 must “identify an impaired ‘contractual

relationship,’ … under which the plaintiff has rights.” Domino’s Pizza, Inc. v. McDonald, 546

U.S. 470, 476 (2006).

         As the Court explained, section 1981 is not a “cure-all” that was “meant to provide an

omnibus remedy for all racial injustice.” Id. at 479. Rather, it is squarely grounded in the right to

enjoy the benefits of contracts. Quoting the Supreme Court, the First Circuit has stated that


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“Section 1981 is not a full suit of armor—a ‘strange remedial provision designed to fight racial

animus in all its noxious forms.’” Alston v. Spiegel, 988 F.3d 564, 574 (1st Cir. 2021) (quoting

Domino’s Pizza, 546 U.S. at 476). Rather, “it is a bullet proof vest, designed specifically to

safeguard contractual relationships.” Id. Accordingly, “a plaintiff cannot state a claim under §

1981 unless he has (or would have) rights under [an] existing (or proposed) contract that he wishes

to ‘make and enforce.’” Domino’s Pizza, 546 U.S. at 479-80.

       Because section 1981 prohibits race discrimination only in the making and enforcement of

contracts, courts in the Fourth Circuit and elsewhere routinely dismiss section 1981 claims when

there is no contract between the plaintiff and the defendant. See, e.g., Domino’s Pizza, 546 U.S.

at 479-80 (reversing Ninth Circuit and agreeing with district court that section 1981 claim should

have been dismissed because plaintiff had no contract with defendant); Painter’s Mill Grille, LLC

v. Brown, 716 F.3d 342, 348 (4th Cir. 2013) (affirming dismissal of section 1981 claims where

plaintiffs had no contract with defendants); Jimenez v. Wellstar Health Sys., 596 F.3d 1304, 1308-

11 (11th Cir. 2010) (affirming dismissal of section 1981 retaliation claim because doctor who was

denied medical staff privileges at defendant healthcare system had no contractual right to such

privileges); Pullins v. Hancock Whitney Bank, 512 F. Supp. 3d 647, 664 (M.D. La. 2021)

(dismissing section 1981 claim and stating that plaintiff’s “fail[ure] to identify the contract at issue

… is fatal”); Reyes v. Seaton Enterprises, LLC, 2008 WL 2066447, at *7 (E.D. Tenn. May 13,

2008) (“There is neither a contractual relationship alleged in the complaint, nor any indication

plaintiff Sandra Reyes intended to form a contractual relationship with any of the Defendants. So

the complaint fails to state a claim for which relief may be granted…”); Dunn v. Uniroyal Chem.

Co., Inc., 192 F. Supp. 2d 557, 561 (M.D. La. 2001) (dismissing section 1981 claim because

plaintiff had no contract with defendant); Moye v. Chrysler Corp., 465 F. Supp. 1189, 1190 (E.D.

Mo. 1979) (dismissing section 1981 claim where plaintiff failed to allege a “contract or deprivation

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of rights to contract”); cf. Alexander v. Priv. Protective Servs., Inc., 2022 WL 1567447, at *3

(S.D.N.Y. May 18, 2022) (denying motion for leave to add section 1981 claim on futility grounds

where plaintiff had no contract with defendant).

       Here, as noted above, Plaintiff fails to allege that she entered into a contract with one or

more of the Defendants. To be sure, Plaintiff contacted Ms. Lewis for free advice, called her on

numerous occasions, submitted her resume to Ms. Lewis for feedback, asked Ms. Lewis about job

openings, and asked Ms. Lewis to present her to at least one law firm for the firm’s consideration.

(Compl. ¶¶ 18-20, 60-61, 81-89.) Indeed, hoping to capitalize on Ms. Lewis’ “stellar reputation

for placing diverse candidates,” even after Ms. Lewis allegedly reacted negatively to the news that

Plaintiff might sue her former law firm, Plaintiff continued to request favors from Ms. Lewis in an

attempt to “get her career back on track.” (Id. ¶¶ 15, 75-80, 89-90.) But Plaintiff’s relationship

with Ms. Lewis was not a contractual relationship that could give rise to a section 1981 claim.

And Plaintiff does not allege otherwise.

       Recruiting firms like MLA do not enter into contracts with job seekers who request their

services. Instead, MLA contracts with law firms and other employers that pay MLA to steer

desirable candidates their way. Accordingly, the complaint does not allege that any money

changed hands between Plaintiff and Defendants.           None of the hallmarks of a contractual

relationship (e.g., offer, acceptance, or consideration) are pled here. The parties were not beholden

to each other in any way. Plaintiff was free to use another recruiter to facilitate her job search, and

she also was free to schedule interviews on her own, which she did with “Law Firm A” after

speaking with Ms. Lewis in January 2024. (Id. ¶¶ 87-92.) Plaintiff simply does not allege that a

contract or potential contract existed between the parties that could have been impacted by

Defendants’ decision to stop working with her after January 17, 2024. This pleading deficiency

defeats her section 1981 claim.

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       As one federal court explained, section 1981 “protects someone in his or her right to

negotiate, execute, perform, modify, or terminate a contract as well as the right to enjoy all the

privileges of the contractual relationship. Nothing suggests it goes further to protect someone in

the provision of non-contractual related rights.” Hayes v. ATL Hawks, LLC, 2019 WL 13059765,

at *12 (N.D. Ga. Dec. 13, 2019) (dismissing section 1981 retaliation claim), aff’d 844 F. App’x

117 (11th Cir. 2021). Here, because Plaintiff failed to allege that she had a contract with the

Defendants and that the Defendants did something to impair her rights under that contract, her

section 1981 claim must be dismissed, just like the claims in all the cases cited above. And because

Plaintiff cannot cure this pleading defect in an amended complaint, the Court should dismiss her

complaint with prejudice.

III.   The Court Should Dismiss Plaintiff’s Section 1981 Claim Because the Complaint Fails
       to Plausibly Allege that Defendants Possessed a Retaliatory Motive or Intent

       “[N]on-employment retaliation claims under § 1981 are exceedingly rare.” Zastrow v.

Houston Auto Imports Greenway Ltd., 789 F.3d 553, 564 (5th Cir. 2105). As the Fourth Circuit

has explained, the elements of a prima facie claim for retaliation under section 1981 are identical

to the elements of a retaliation claim under Title VII—namely, that: (1) the plaintiff engaged in a

“protected activity”; (2) the plaintiff’s “employer took an adverse employment action against her”;

and (3) there was a “causal link between the two events.” Boyer-Liberto v. Fontainebleau Corp.,

786 F.3d 264, 281 (4th Cir. 2015). Although Plaintiff never was employed by MLA, she

nonetheless contends that her race discrimination suit against Troutman is a “protected activity”

that can support a section 1981 claim against Defendants. (Compl. ¶ 112.)

       As explained above, Plaintiff’s claim is defective because she is not seeking to vindicate

the impairment of a contractual right. But in addition, Plaintiff’s claim fails as a matter of law

because she failed to plausibly allege that Defendants intended to retaliate against her for engaging


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in a protected activity. At its core, section 1981 is designed to protect persons from racially

motivated acts of discrimination. Not surprisingly, then, when bringing a race discrimination claim

under the statute, a plaintiff must allege that she was the victim of purposeful discrimination in

which “race was the but-for cause of [her] injury.” Comcast Corp. v. Nat’l Ass’n of African Am.-

Owned Media, 589 U.S. 327, 341 (2020). In other words, to allege discrimination, a plaintiff must

plead facts from which it may be inferred that “but for race, [she] would not have suffered the loss

of a legally protected right” (i.e., the right to make and enforce contracts). Id.

       The Fourth Circuit has held that the Comcast “but for” standard also applies to section

1981 retaliation claims. See Ali v. BC Architects Engineers, PLC, 832 F. App’x 167, 172-73 (4th

Cir. 2020); see also Pearson v. Prince William Cty. Sch. Bd., 2023 WL 2506415, at *7-8 (E.D. Va.

Mar. 14, 2023) (dismissing section 1981 retaliation claim due to failure to plead “but for” causation

and noting that the Comcast standard applies to “§ 1981 retaliation plaintiffs”). When analyzing

a retaliation claim, however, the question is not whether the defendant’s actions were motivated

by the plaintiff’s race but, rather, whether the defendant’s actions were motived by a desire to

retaliate against the plaintiff for complaining about race. See, e.g., Burke v. Talladega City Bd. of

Educ., 2024 WL 714290, at *5 (N.D. Ala. Feb. 20, 2024) (dismissing section 1981 retaliation claim

because plaintiff failed to allege facts “that would prove [defendant’s] retaliatory motive was a

but-for cause” of the adverse action); Lawrence v. DAP Prod., Inc., 2023 WL 7300560, at *7 (D.

Md. Nov. 6, 2023) (ruling that section 1981 retaliation claim failed because defendant’s statements

“lack[ed] any discriminatory animus”).

       Plaintiff undoubtedly will argue that she engaged in a “protected activity” by filing a race

discrimination suit against Troutman and that there is a causal link between this protected activity

and Defendants’ “adverse action”—i.e., their decision to stop working with her. But an adverse

reaction to the mere filing of the Troutman lawsuit is not enough. To state a prima facie case for

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retaliation under section 1981, Plaintiff must allege facts from which it can be inferred that

Defendants wanted to punish her for filing race-based claims. See, e.g., Williams v. Waste

Management, Inc., 2019 WL 1573847, at *10 (N.D. Tex. Jan. 30, 2019) (holding that retaliation

claim failed because plaintiff’s complaints of OSHA violations did not implicate activity protected

by section 1981). And her complaint does nothing of the sort.

       Indeed, one cannot glean from any of Plaintiff’s allegations that Defendants’ decision to

discontinue their relationship with her was motivated by a desire to retaliate against her at all. To

the contrary, the complaint suggests only that Defendants believed they would be unable to help

Plaintiff find new employment if she sued her old law firm, and they saw no point in continuing

to work with her after she did. There are no allegations suggesting that Plaintiff’s pursuit of race-

based claims against her former firm (as opposed to any other type of claims) factored into

Defendants’ decision-making. And why would it? MLA is a for-profit business. If Defendants

believed they could convince a law firm to hire Plaintiff and send MLA a five-figure commission

for presenting her to the firm, logic suggests that Defendants would have continued to work with

her.

       Plaintiff’s theory, however, throws logic out the window. The entire concept of retaliation

is that a person does something that harms or offends a second person, and the second person

punishes the first person in response. This explains why the vast majority of section 1981

retaliation cases are grounded in employment relationships. Under the typical fact pattern, an

employee publicly accuses her employer of engaging in discriminatory practices—by telling co-

workers, complaining to management, or filing a lawsuit or an EEOC claim—and the employer

responds by firing, demoting, or not promoting the employee. A retaliatory motive is easy to

discern in such cases. See, e.g., Pearson, 2023 WL 2506415, at *8 (discussing the methods to

prove a causal link and dismissing section 1981 employment retaliation claim).

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       Here, in contrast, Plaintiff did nothing to harm or offend Defendants. She simply picked a

fight with her former employer. Plaintiff has not alleged, and cannot allege, any facts creating an

inference that Defendants wanted to punish her for filing race-based claims against her old firm.

Stated differently, Plaintiff has not alleged that, “but for” her filing of claims implicating the

concerns behind section 1981, MLA would have continued working with her. Rather, the fair

inference to be drawn from Plaintiff’s allegations is that MLA would have discontinued the

relationship if she had filed any claims against Troutman because of the perceived impact such a

lawsuit would have on MLA’s ability to help Plaintiff gain future employment. See, e.g., Ali, 832

F. App’x at 173 (noting, in the context of a section 1981 retaliation claim, that any inference of

“but for” retaliation was “further weakened” by the fact that the complaint provided an alternative

reason for the adverse action).

       In fact, instead of supporting her theory, many of Plaintiff’s allegations refute the notion

that Defendants harbored a discriminatory animus or retaliatory motive against her. Plaintiff

concedes that Ms. Lewis has a “stellar reputation for placing diverse candidates” and that she once

served as the Diversity, Equity, and Inclusion recruiter at a prominent Maryland law firm. (Compl.

¶ 15.) When Plaintiff was in law school, her classmates told her that if she ever needed a job, she

should contact Ms. Lewis because “Ms. Lewis was well known as the best recruiter to place diverse

candidates.” (Id. ¶¶ 58-59.) Consistent with this reputation, Ms. Lewis gave Plaintiff free advice

in 2019 and again in 2023 and 2024, reviewing Plaintiff’s resume and agreeing to provide her

materials to a prospective employer. (Id. ¶¶ 58-61, 81-89.) There is no suggestion anywhere in

the complaint that Ms. Lewis or any other Defendant was biased against or had an animus toward

minorities pursuing race-based claims.

       The fact that Ms. Lewis continued working with Plaintiff after Plaintiff first engaged in

protected activity further refutes the notion that Defendants possessed a retaliatory motive. On

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November 30, 2023, Plaintiff informed Ms. Lewis that she “complain[ed] about discrimination”

at Troutman—a type of protected activity because it involves the exercise of protected rights—yet

Ms. Lewis agreed to work with Plaintiff, submitting her materials to Law Firm A. (Compl. ¶¶ 18-

20.); see also Body by Cook, Inc. v. State Farm Mut. Auto. Ins., 869 F.3d 381, 390 (5th Cir. 2017)

(affirming dismissal of section 1981 retaliation claim where adverse action was taken both before

and after the protected activity); Thompson v. Potomac Elec. Power Co., 312 F.3d 645, 651 (4th

Cir. 2002) (affirming summary judgment for the same reason). If Plaintiff’s theory were correct,

Ms. Lewis would have refused to work with Plaintiff the moment she learned Plaintiff had

complained about race discrimination. But she did not, showing that what Ms. Lewis cared about

was the filing of a lawsuit against Troutman, not Plaintiff’s attempt to vindicate her rights.

        Plaintiff alleges no concrete facts to the contrary. She posits that Defendants “retaliated”

against her “because she filed suit to protest the violation of a federal civil right.” (Id. ¶ 100). But

this is precisely the type of conclusory allegation, devoid of factual content, that Twombly and

Iqbal instruct district courts to ignore. When one sets aside Plaintiff’s “spin,” her allegations of

alleged misconduct are entirely consistent with a race-neutral desire to explain what any

experienced legal recruiter knows: suing your old law firm for any reason is a red flag that will

make it much more difficult for you to find new employment, particularly through a legal recruiter

where the cost of a new firm hiring you will be increased by recruitment fees.

        Rather than crediting Plaintiff’s self-serving spin, the Court should examine what Ms.

Lewis actually said, as alleged in bold font in the complaint. According to Plaintiff, Ms. Lewis

told her:

               on November 30, 2023, “Whatever you do, do not file [a lawsuit].”; and

               on January 11, 2024, “If you file this lawsuit, I can’t place you again. [I] will

                never find you a job.”
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(Id. ¶¶ 74-77, 85-88). These statements do not suggest that Ms. Lewis cared whether Plaintiff filed

race-based claims against Troutman. Indeed, one could reach this conclusion only through rank

speculation that ignores Ms. Lewis’ well-known reputation for working with diverse attorneys.

The logical inference from Ms. Lewis’ statements is that Ms. Lewis was concerned about the

impact of Plaintiff filing a lawsuit on firms that might consider hiring her. By saying “I can’t place

you,” and “[I] will never find you a job,” Ms. Lewis is not saying that filing a lawsuit would offend

her; rather, she is saying in a race-neutral way that she no longer will be able to help Plaintiff

because (on top of Plaintiff being recently fired and relatively inexperienced in the narrow legal

field of affordable housing) the lawsuit will deter MLA’s law firm clients from hiring Plaintiff for

an associate position and agreeing to pay MLA a sizeable commission.

       The same is true of the internal MLA emails that appear in the complaint, and the notes in

MLA’s internal “Bullhorn” tracking system. Although these writings reference the fact that

Plaintiff filed a discrimination lawsuit (id. ¶¶ 109-110), they do not in any way suggest that MLA

discontinued its relationship with Plaintiff because she included race-based claims in the Troutman

complaint. As such, they do not plausibly allege “but for” causation, as Comcast and its progeny

require. Similarly, Plaintiff alleges that during the November 30, 2023 call, Ms. Lewis tried to

dissuade Plaintiff from suing by stating: “I have a lot of white clients who have been let go.” (Id.

¶ 18.) Like the rest of Plaintiff’s allegations, this allegation does not support an inference that,

when Ms. Lewis told Plaintiff a month-and-a-half later that it no longer made sense for them to

work together, Ms. Lewis possessed a retaliatory motive or intent.

       In the end, Plaintiff rests her entire claim on two facts: (1) Defendants learning on January

18, 2024 that she had filed a discrimination lawsuit against Troutman; and (2) Defendants ending

their relationship with her immediately thereafter. For the reasons explained above, this is not

enough to state a claim for relief because one cannot plausibly infer from these facts that

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Defendants’ conduct was motivated by discriminatory animus or a retaliatory intent. See Pearson,

2023 WL 2506415, at *8 (dismissing section 1981 retaliation claim because there was “plenty of

speculation” as to why defendant did not give plaintiff a job reference but “no factual allegations

connecting his protected activity to the adverse action, let alone ‘regular acts showing animus or

antagonism.’”) (citation omitted).

       There are perfectly good, non-discriminatory reasons—based on decades of recruiting

experience—why Defendants reacted the way they did to learning about the Troutman lawsuit.

Plaintiff may disagree with Ms. Lewis’ assessment that she “will never find [Plaintiff] a job,” but

one cannot infer from the complaint’s allegations that Plaintiff was the target of purposeful

discrimination, or that Defendants would have continued their relationship with her “but for” her

including race-based claims in the Troutman complaint. Because Plaintiff failed to plausibly allege

that Defendants had a retaliatory motive, and because she cannot cure this fatal pleading defect,

the Court should dismiss her complaint with prejudice.

                                        CONCLUSION

       For the foregoing reasons, Defendants Major, Lindsey & Africa, LLC, Randi Lewis, Andy

Ufberg, and Eliza Stoker respectfully request that the Court dismiss Plaintiff’s complaint in its

entirety, with prejudice, under Rule 12(b)(6) and grant Defendant any other relief the Court deems

just and proper.




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June 4, 2024                  Respectfully submitted,


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